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 3
                                  UNITED STATES DISTRICT COURT
 4
                                       DISTRICT OF NEVADA
 5
     UNITED STATES OF AMERICA,
 6
                    Plaintiff,                                    2:12-cr-00440-RCJ-GWF-7
 7
            vs.                                                             ORDER
 8
     JAMES REDA et al.,
 9
                    Defendants.
10

11
            The Government has asked the Court to correct the clerical error of not having attached
12
     the Final Order of Forfeiture to the Judgment. The record indicates no such error. The Judgment
13
     includes the Final Order of Forfeiture both by reference and attachment. (See J. 6, ECF No. 325;
14
     Order, ECF No. 325, at 7).
15
                                             CONCLUSION
16
            IT IS HEREBY ORDERED that the Motion to Correct (ECF No. 329) is DENIED.
17
            IT IS SO ORDERED.
18
     Dated this 4th day of August, 2015.
19
                                                    _____________________________________
20                                                            ROBERT C. JONES
                                                           United States District Judge
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